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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------- x
                                                            : Chapter 11
 In re:                                                     :
                                                            :
          WONDERWORK, INC.,                                 : Case No.: 16-13607 (MKV)
                                                            :
                                     Debtor.                :
                                                            :
 ---------------------------------------------------------- x




                    AMENDED CHAPTER 11 PLAN OF
             LIQUIDATION FOR THE BANKRUPTCY ESTATE OF
        WONDERWORK, INC. AS PROPOSED BY THE CHAPTER 11 TRUSTEE



 TOGUT, SEGAL & SEGAL LLP
 One Penn Plaza, Suite 3335
 New York, New York 10119
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 Counsel for Stephen S. Gray,
 not individually but solely in
 his capacity as Chapter 11 Trustee



 Dated: August 8, 2018
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        Stephen S. Gray, not individually but solely in his capacity as the Chapter 11
 trustee (the “Trustee”) for the bankruptcy estate of WonderWork, Inc. (the “Debtor”),
 hereby proposes the following Chapter 11 plan (the “Plan”) pursuant to sections 1121(c)
 and 1123 of title 11 of the United States Code (the “Bankruptcy Code”). Reference is
 made to the Disclosure Statement filed with the Bankruptcy Court concurrently
 herewith for a discussion of certain transactions and other matters germane to the
 implementation of the Plan and the administration of the Debtor’s Chapter 11 case, as
 well as a summary discussion of the terms and conditions of the Plan. All holders of
 Claims (as defined herein) who are entitled to vote on the Plan are strongly encouraged
 to read the Plan and the Disclosure Statement in their entirety and consult with an
 attorney.

 NO SOLICITATION MATERIALS OTHER THAN THE DISCLOSURE
 STATEMENT AND RELATED MATERIALS TRANSMITTED THEREWITH HAVE
 BEEN AUTHORIZED BY THE COURT FOR USE IN SOLICITING ACCEPTANCES
 OR REJECTIONS OF THE PLAN.

                                  ARTICLE I.
                    DEFINITIONS AND CONSTRUCTION OF TERMS

         Section 1.1. Definitions; Interpretation; Application of Definitions and Rules of
 Construction. For purposes of the Plan, the following terms shall have the meanings
 specified in this Article I. A term used herein that is not defined herein, but that is used
 in the Bankruptcy Code, shall have the meaning ascribed to that term in the Bankruptcy
 Code. The rules of construction contained in section 102 of the Bankruptcy Code shall
 apply to the construction hereof. Headings in the Plan are for convenience of reference
 only and shall not limit or otherwise affect the provisions hereof. The words “herein”,
 “hereof,” “hereto,” “hereunder” and other words of similar import refer to the Plan as a
 whole and not to any particular Section, sub-Section or clause contained in the Plan.
 Any reference in the Plan to a contract, instrument, release, indenture, or other
 agreement or document being in a particular form or on particular terms and conditions
 means that such document shall be substantially in such form or substantially on such
 terms and conditions. Any reference in the Plan to an existing document or an exhibit
 filed or to be filed (in connection with the Disclosure Statement, or the Plan) means such
 document or exhibit as it may have been or may be amended, modified, or
 supplemented. Any reference to a Person as a holder of a Claim includes that Person’s
 successors, assigns, and affiliates. Wherever the Plan provides that a payment or
 Distribution shall occur “on” any date, it shall mean “on or as soon as reasonably
 practicable after” such date. Further, where appropriate, from a contextual reading of a
 term, each term includes the singular and plural form of the term regardless of how the
 term is stated and each stated pronoun is gender neutral.

       “Acquired Assets” means Assets acquired by, and transferred to, the Purchasers in
 accordance with the terms and conditions of the Purchase Agreements, which for the
 avoidance of doubt does not include any of the Litigation Trust Assets.




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        “Administrative Expense Claim” means, except as otherwise set forth in this Plan,
 a Claim (or a portion of a Claim) for any cost or expense of administration in connection
 with the Chapter 11 Case, including, without limitation, any actual, necessary costs and
 expenses of preserving the Debtor’s Estate, and all fees and charges assessed against the
 Debtor’s Estate, as defined herein, pursuant to 28 U.S.C. § 1930. The term
 Administrative Expense Claim does not include Professional Fee Claims or Priority
 Claims, as defined herein and which are treated separately in this Plan.

        “Allocated Restricted Funds” means an amount of Cash equal to ten percent (10%)
 of the Restricted Funds held by the Debtor as of the Effective Date, as authorized by the
 NYSAG pursuant to New York Not-for-Profit Corporation Law section 513(b), to be
 allocated toward the satisfaction of Allowed Professional Fee Claims.

        “Allowed” means, with reference to any Claim (including any Administrative
 Expense Claim) that portion of a Claim: (i) which has been allowed by a Final Order;
 (ii) which is allowed under the terms of this Plan; or (iii) (a) which has been scheduled
 by the Debtor as not disputed, not contingent and not unliquidated, or (b) for which a
 proof of claim was timely and otherwise properly filed on or before the Bar Date with
 the Bankruptcy Court, and with respect to Claims described in this clause (iii) as to
 which no objection to the allowance thereof has been interposed within the period of
 time fixed by the Bankruptcy Code, the Plan, the Bankruptcy Rules or an order of the
 Bankruptcy Court, or as to which any objection has been determined by a Final Order of
 the Bankruptcy Court allowing such Claim or any portion thereof. Except as otherwise
 specifically set forth in this Plan, each Allowed Claim shall be net of any valid setoff
 exercised with respect to such Claim pursuant to the Bankruptcy Code and applicable
 law.

        “Assets” means (a) all remaining assets and properties of every kind, nature,
 character and description, whether real, personal, or mixed, whether tangible or
 intangible (including contract rights), wherever situated and by whomever possessed,
 including the goodwill related thereto, operated, owned, or leased by the Debtor that
 constitute property of the Estate within the meaning of section 541 of the Bankruptcy
 Code, including, without limitation, any and all Claims, Causes of Action, or rights of
 the Debtor or the Estate, under federal, state, or foreign law, letters of credit issued for
 or on behalf of the Debtor and the monies deposited to secure the performance of any
 contract or lease by the Debtor; and (b) the proceeds, products, rents and/or profits of
 any of the foregoing.

        “Available Cash” means Cash of the Debtor on hand on the Effective Date,
 including the proceeds from the Sale and any payment from HMS pursuant to the terms
 and conditions of the HMS Settlement Agreement; excluding, however, the Restricted
 Funds.

        “Avoidance Actions” mean any action arising under Chapter 5 of the Bankruptcy
 Code, including, sections 544, 545, 546, 547, 548, 549, 550 and 553 of the Bankruptcy
 Code, or under similar or related state or federal statutes and common law, including
 fraudulent transfer laws, whether or not litigation has been commenced as of the
 Confirmation Date to prosecute such Avoidance Actions.



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         “Ballot” means the form distributed to each holder of a Claim against the Debtor
 that is entitled to vote to accept or reject the Plan on which is to be indicated, among
 other things, acceptance or rejection of the Plan and, in respect of the General
 Unsecured Claims, the Litigation Trust Election.

         “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. § 101, et.
 seq., as such title has been, or may be, amended from time to time, to the extent that any
 such amendment is applicable to this Chapter 11 Case.

         “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
 District of New York and any court having competent jurisdiction to hear appeals or
 certiorari proceedings therefrom, or any successor thereto that may be established by
 any act of Congress, or otherwise, and which has competent jurisdiction over the
 Chapter 11 Case or the Plan.

         “Bankruptcy Rules” mean (i) the Federal Rules of Bankruptcy Procedure as
 promulgated by the United States Supreme Court, as provided under section 2075 of
 title 28 of the United States Code, as such Rules may be amended from time to time, and
 (ii) any Local Rules of the Bankruptcy Court.

        “Bar Date” means July 31, 2017, which was the date fixed in the Bar Date Order as
 the deadline to file a proof of Claim in the Chapter 11 Case.

        “Bar Date Order” means the Order Establishing July 31, 2017 as the Deadline for
 Filing Proofs of Claim in this Chapter 11 Case [Dkt. No. 178].

        “Business Day” means any day other than a Saturday, Sunday or “legal holiday”
 (as defined in Bankruptcy Rule 9006(a)).

        “Cash” means cash or cash equivalents, including, but not limited to, wire
 transfers, checks and other readily marketable direct obligations of the United States of
 America and certificates of deposit issued by federally insured depository institution.

        “Causes of Action” means, without limitation, (a) all pending suits to which the
 Debtor is a party, whether as plaintiff or defendant, as of the date the Confirmation
 Order becomes a Final Order, and (b) any and all other actions, proceedings, causes of
 action, liabilities, obligations, suits, accounts, controversies, agreements, rights to legal
 remedies, rights to equitable remedies, rights to payment and claims, damages,
 judgments, claims and demands whatsoever, whether known, unknown, reduced to
 judgment, not reduced to judgment, liquidated, unliquidated, fixed, contingent,
 matured, unmatured, disputed, undisputed, secured or unsecured and whether
 asserted or assertable directly or derivatively, in law, equity or otherwise, existing or
 hereafter arising, to which the Debtor had any rights or obligations whatsoever, based
 in whole or in part upon any act or omission or other event occurring prior to the
 Petition Date, during the course of the Chapter 11 Case (including through the Effective
 Date), including, without limitation, all Avoidance Actions and D&O Claims.




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       “Chapter 11 Case” means the case under Chapter 11 of the Bankruptcy Code
 commenced by the Debtor, bearing the caption In re: WonderWork, Inc., Case No. 16-
 13607 and pending before the Bankruptcy Court.

        “Charitable Recipients” means (i) MiracleFeet, and (ii) ReSurge as set forth in each
 respective Grant Agreement.

         “Claim” means any claim within the meaning of section 101(5) of the Bankruptcy
 Code.

       “Claim No.” means the number ascribed a proof of Claim filed in the Chapter 11
 Case on the Estate’s claim register maintained by the Clerk of the Bankruptcy Court.

         “Class” means a Class of Claims described in Article III of the Plan.

       “Confirmation” means entry of the Confirmation Order by the Bankruptcy Court
 confirming the Plan pursuant to section 1129 of the Bankruptcy Code.

       “Confirmation Date” means the date of entry of the Confirmation Order on the
 docket maintained by the Clerk of the Bankruptcy Court.

        “Confirmation Hearing” means the hearing held by the Bankruptcy Court to
 consider the Confirmation of the Plan pursuant to section 1129 of the Bankruptcy Code,
 as such hearing may be adjourned or continued from time to time.

         “Confirmation Order” means the Order of the Court: (i) confirming the Plan
 pursuant to section 1129 of the Bankruptcy Code; (ii) approving the Sale consistent
 with the terms of the Purchase Agreement pursuant to sections 105, 363 and/or 1129 of
 the Bankruptcy Code and Bankruptcy Rule 6004; (iii) approving the Grant consistent
 with the terms and conditions of the Grant Agreements; (iv) approving the HMS
 Settlement Agreement pursuant to Bankruptcy Rule 9019, and (v) granting such other
 relief as may be appropriate.

        “Creditor” means any holder of a Claim against the Estate or holder of any Claim
 against property of the Estate.

        “D&O Claim” means a claim or Cause of Action against any present or former
 director or officer of the Debtor based in whole or in part upon any act or omission or
 other event occurring prior to the Petition Date or during the course of the Chapter 11
 Case.

        “D&O Insurance Policy” means those director and officer liability insurance
 policies of the Debtor that have not yet expired or lapsed as of the Effective Date.

       “Debtor” means WonderWork, Inc., including in its former capacity as debtor in
 possession in the Chapter 11 Case, which ended on November 22, 2017 upon the
 appointment of the Trustee.

        “Disclosure Statement” means the disclosure statement relating to the Plan,
 including, without limitation, all exhibits and schedules thereto, as the same may be


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 amended, supplemented, or modified from time to time and as approved by the
 Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code.

        “Disputed” means, with respect to any Claim, any Claim that is (a) disputed
 under this Plan (including the Disputed Claims identified in the Plan Supplement) or
 subject to a timely objection and/or request for estimation in accordance with section
 502(c) of the Bankruptcy Code and Bankruptcy Rule 3018, which objection and/or
 request for estimation has not been withdrawn or determined by a Final Order,
 (b) improperly asserted, by the untimely or otherwise improper filing of a Proof of
 Claim as required by order of the Bankruptcy Court or (c) that is the subject of a Filed
 objection or adversary proceeding seeking to disallow such Claim pursuant to section
 502(d) of the Bankruptcy Code. A Claim or Administrative Expense Claim that is
 Disputed as to its amount shall not be Allowed in any amount for purposes of
 Distribution until it is no longer a Disputed Claim.

          “Disputed Claims Reserve” means the reserve to be established and maintained by
 the Plan Administrator described in Section 8.1 of the Plan. For the avoidance of doubt,
 the amount retained on account of a Disputed Claim shall be the lesser of the amount of
 such Claim as (i) asserted by the holder of such Claim against the Debtor, or
 (ii) estimated for the purposes of the Plan by Final Order of the Bankruptcy Court;
 provided, however, the Trustee shall not be required to retain any amount on account
 of contingent or unliquidated Claims. Any portion of a Disputed Claim that is
 disallowed by Final Order of the Bankruptcy Court, or waived by the holder of such
 Claim, shall be distributed in accordance with the terms and conditions of the Plan.

        “Distribution(s)” means the distribution or distributions on account of Allowed
 Claims to be made by the Plan Administrator in accordance with the terms and
 conditions of the Plan.

        “Effective Date” means the first Business Day upon which each of the conditions
 in Section 10.2 of the Plan have been satisfied or waived pursuant to Section 10.3 of the
 Plan.

       “Estate” means the Chapter 11 Estate of the Debtor created by section 541 of the
 Bankruptcy Code upon the commencement of the Chapter 11 Case.

        “Excess Plan Distribution Fund” means any Available Cash remaining in the Plan
 Distribution Fund, if any, after payment in full of all Allowed Administrative Claims,
 Allowed Professional Fees, Allowed Secured Claims, Allowed Priority Claims and
 Allowed General Unsecured Claims as provided in the Plan.

        “Executory Contract” means any executory contract or unexpired lease subject to
 section 365 of the Bankruptcy Code, between the Debtor and any other Person.

        “Exculpated Claim” means any claim, cause of action, obligation or liability
 asserted or assertable against the Exculpated Parties, related to any act or omission in
 connection with, relating to, or arising out of the Chapter 11 Case and any proceeding
 therein; including, without limitation, the Trustee’s administration of the Estate, the
 transfer of any Asset of the Estate, the formulation, preparation, dissemination,


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 negotiation and promulgation of this Plan and the accompanying Disclosure Statement
 or any contract, instrument, release or other agreement or document created or entered
 into in connection with the Disclosure Statement or this Plan, or the pursuit of
 confirmation of this Plan or the administration and implementation of this Plan;
 provided, however, Exculpated Claims shall not include any act or omission that is
 determined in a Final Order to have constituted gross negligence, willful misconduct or
 fraud.

       “Exculpated Parties” means the Trustee, and the Trustee’s retained Professional
 Persons, including: (i) Togut, Segal & Segal LLP, (ii) Garfunkel Wild, P.C., (iii) CR3
 Partners, LLP, (iv) Verdolino & Lowey, P.C., and (v) Gordon Brothers Asset Advisors,
 LLC.

        “Final Order” means shall mean an order or judgment of the Bankruptcy Court
 entered by the clerk of the Bankruptcy Court on the docket of the Chapter 11 Case
 which has not been reversed, vacated or stayed and as to which (a) the time to appeal or
 seek review or rehearing has expired, and a notice of appeal or request for review or
 rehearing is not pending, or (b) any appeal that has been taken has been finally
 determined or dismissed on grounds that affirm the order or judgment, it being further
 provided that if such appeal or request for a rehearing is pending, that if such order is
 not stayed pending appeal or rehearing pursuant to Fed. R. Civ. P. 62 as incorporated
 by Bankruptcy Rule 7062, the order shall be deemed to be a Final Order. The possibility
 that a motion made under Rule 60 of the Federal Rules of Civil Procedure or
 Bankruptcy Rule 9024 may relate to such order or judgment shall not, by itself, cause
 such order or judgment to not be a Final Order.

       “General Unsecured Claim” means a Claim against the Debtor that is not an
 Administrative Expense Claim, Priority Tax Claim, Professional Fee Claim, Secured
 Claim, or Other Priority Claim.

       “Grant” means, collectively, the grants of a portion of the Restricted Funds to the
 Charitable Recipients as specified in the Grant Agreements and approved by the
 NYSAG in accordance with applicable law governing charities.

       “Grant Agreements” means, collectively, those certain grant agreements by and
 among the Trustee and Charitable Recipients, as approved by the NYSAG, and as the
 same may be amended or modified and filed with the Bankruptcy Court as part of a
 Plan Supplement

        “HMS” means Help Me See, Inc., a Delaware not-for-profit organization.

       “HMS Settlement Agreement” means the settlement agreement entered into by and
 between the HMS, on the one hand, and the Trustee, on the other hand, dated April 4,
 2018. A copy of the HMS Settlement Agreement is attached hereto as Exhibit A.

        “HMS Settlement Restricted Funds” means that portion of the Restricted Funds to
 be transferred to HMS on account of the HMS General Unsecured Claim as set forth in
 the HMS Settlement Agreement.



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        “HMS General Unsecured Claim” means the General Unsecured Claim of HMS
 (Claim No. 17) as Allowed under the Plan in the amount of $16,054,348 in accordance
 with the terms and conditions of the HMS Settlement Agreement.

        “HMS Substantial Contribution Claim” means the Claim of HMS for substantial
 contribution pursuant to sections 503(b)(3)(D) and 503(b)(4). The HMS Substantial
 Contribution Claim is not Allowed under the Plan and shall be subject to allowance by
 the Bankruptcy Court following an application by HMS.

       “Impaired” means “impaired” within the meaning of section 1124 of the
 Bankruptcy Code.

        “Litigation Trust” means the trust to be created on the Effective Date in
 accordance with Section 9 of the Plan and the Litigation Trust Agreement for the benefit
 of holders of Litigation Trust Interests.

        “Litigation Trust Agreement” means the agreement by and between the Trustee
 and the Litigation Trustee establishing the terms and conditions of the Litigation Trust,
 substantially in the form as contained in the Plan Supplement and reasonably
 acceptable to HMS.

        “Litigation Trust Assets” means the Litigation Trust Claims, the Litigation Trust
 Funds, any and all books and records of the Debtor relating to the Litigation Trust
 Claims, all attorney-client and other privileges held by the Debtor relating to the
 Litigation Trust Claims (other than rights of attorney-client privilege independently
 held by the Trustee), and any other assets acquired by the Litigation Trust after the
 Effective Date or pursuant to the Plan, including any Excess Plan Distribution Fund.

        “Litigation Trust Claims” means all Avoidance Actions, all D&O Claims, and any
 other Causes of Action; including, without limitation, the Causes of Action to be
 identified in the Plan Supplement. Failure to list a Litigation Trust Claim in the Plan
 Supplement shall not constitute a waiver or release of such Litigation Claim.

        “Litigation Trust Election” means the election by a General Unsecured Creditor to
 receive Litigation Trust Interests in exchange for such General Unsecured Creditor’s
 agreement to contribute Litigation Trust Funds to the Litigation Trust in accordance
 with the terms and conditions of the Litigation Trust Agreement.

         “Litigation Trust Funds” means the Cash contributed by HMS and other holders
 of the Litigation Trust Interests to fund the Litigation Trust. The initial amount of
 Litigation Trust Funds to be transferred on the Effective Date by HMS and any other
 holders of Litigation Trust Interests shall be set forth in the Confirmation Order.

        “Litigation Trust Interests” means the beneficial interests in the Litigation Trust to
 be deemed distributed to holders of Allowed General Unsecured Claims on the terms
 and conditions as set forth in this Plan and the Litigation Trust Agreement.

       “Litigation Trustee” means the Person, solely in his or her capacity as Litigation
 Trustee, to be selected by HMS in accordance with the HMS Settlement Agreement and



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 to be identified as part of the Plan Supplement filed in accordance with this Plan and
 approved prior to the Effective Date by the Bankruptcy Court to administer the
 Litigation Trust in accordance with the terms and provisions of Article 9 hereof and the
 Litigation Trust Agreement.

       “MiracleFeet” means MiracleFeet, a North Carolina not-for-profit organization.

       “Mullaney” means Brian Mullaney, the former Chief Executive Officer and a
 former director of the Debtor.

       “Mullaney Claim” means any Claim asserted by Mullaney.

        “Net HMS Claim” means the HMS General Unsecured Claim, plus any amounts
 paid by HMS to satisfy the Unsecured Claim Distribution Shortfall (as defined in the
 HMS Settlement Agreement) and less the HMS Settlement Restricted Funds transferred
 to HMS under the terms and conditions of the HMS Settlement Agreement. As set forth
 in Section 4.3 of the Plan, HMS shall receive Litigation Trust Interests in respect of the
 Net HMS Claim but shall not receive any Distribution from the Plan Distribution Fund
 on account thereof.

        “NYSAG” means the Office of the Attorney General of the State of New York,
 Charities Bureau.

        “Other Priority Claim” means any Claim, other than an Administrative Expense
 Claim, a Secured Claim, a Priority Tax Claim, or a General Unsecured Claim.

         “Oversight Committee” means the committee that shall be appointed, and function
 after the Effective Date, in accordance with Section 10.7 of the Plan and the Litigation
 Trust Agreement, and the initial members of which shall be identified in the
 Confirmation Order.

         “Person” means an individual, corporation, partnership, limited liability
 company, joint venture, association, joint stock company, trust, estate, unincorporated
 organization, governmental unit (or agency or political subdivision thereof), or other
 entity.

       “Petition Date” means December 29, 2016, the date on which the Debtor filed its
 voluntary petition under Chapter 11 of the Bankruptcy Code.

       “Plan” means this Chapter 11 plan of liquidation (including all exhibits and
 schedules hereto), as it may be modified, amended, or supplemented from time to time.

        “Plan Administrator” means, Stephen S. Gray, solely in his capacity as Plan
 Administrator and approved by the Bankruptcy Court pursuant to the Confirmation
 Order, or, after the Effective Date, such other Person designated to administer the Plan
 in accordance with terms and conditions set forth herein.

        “Plan Distribution Fund” means any and all Available Cash on hand as of the
 Effective Date and the proceeds of the liquidation or other disposition of the remaining
 Assets of the Debtor, excluding Litigation Trust Assets.


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        “Plan Supplement” means the compilation of documents, if any, including any
 exhibits to the Plan not included herewith, that the Debtor shall file with the
 Bankruptcy Court ten (10) days prior to the voting deadline for the Plan (or such later
 date as approved by the Bankruptcy Court), which documents and exhibits, to the
 extent they may affect the rights, claims and obigations of HMS or the Litigation Trust,
 shall be reasonably acceptable to HMS.

        “Priority Claim” means a Claim that is either a Priority Tax Claim or Other
 Priority Claim.

        “Priority Tax Claim” means any Claim that is entitled to priority under section
 507(a)(8) of the Bankruptcy Code.

        “Professional Fee Claims” means Claims of Professional Persons or any other
 Person for compensation and/or reimbursement of expenses pursuant to sections 328,
 330, 331, 363 of the Bankruptcy Code for services rendered from Petition Date through
 the Confirmation Date.

        “Professional Fee Claims Bar Date” means 4:00 p.m. (prevailing Eastern time) on
 the date that is thirty (30) days after the Confirmation Date.

        “Professional Persons” means all attorneys, accountants, financial advisors,
 investment bankers, appraisers, consultants, and other professionals retained in the
 Chapter 11 Case by a Final Order and who is to be compensated by the Estate in
 accordance with Bankruptcy Court entered under sections 327, 328, 330, 331, 363 or 1103
 of the Bankruptcy Code.

          “Pro Rata” means, with respect to any Distribution on account of any Allowed
 Claim in any Class, the ratio of (a) the amount of such Allowed Claim to (b) the sum of
 (i) all Allowed Claims in such Class and (ii) the aggregate maximum amount of all
 Disputed Claims in such Class for which Cash must be set aside in the Disputed Claim
 Reserve to be established under the Plan.

        “Purchase Agreement” means, collectively, those certain Purchase and Sale
 Agreements by and among the Trustee and Purchasers as the same may be amended or
 modified and filed with the Bankruptcy Court as part of a Plan Supplement.

       “Purchasers” mean (i) MiracleFeet, and (ii) ReSurge as set forth in each respective
 Purchase Agreement.

        “Released Parties” means each of the following in its capacity as such, and only in
 its capacity as such: (a) the Debtor; (b) the Trustee; (b) the Trustee’s retained
 Professional Persons; (c) HMS; and (d) the Thompson Family Foundation.

        “Restricted Funds” means the Cash of the Debtor that is subject to any restriction
 on purpose or expenditure under the terms of an applicable “gift instrument” as that
 term is defined in the New York Prudent Management of Institutional Funds Act, New
 York Not-for-Profit Corporation Law section 551(c) and/or the identical provision of




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 the Uniform Prudent Management of Institutional Funds Act of Delaware, Delaware
 Code Title 12, section 4702(3).

       “Resurge” means ReSurge International, a California not-for-profit organization.

        “Sale” means the sales of the Acquired Assets by the Trustee or the Plan
 Administrator, as the case may be, to the Purchasers pursuant to the terms and
 conditions of the Purchase Agreement as approved and authorized by the Confirmation
 Order.

       “Sale Closing Date” means the date upon which the Sale is consummated as
 provided for and in accordance with the terms and conditions of the Purchase
 Agreement.

       “Scheduled” means, with respect to any Claim, that such Claim is listed on the
 Schedules.

        “Schedules” means the Schedules of Assets and Liabilities and Statements of
 Financial Affairs filed with the Court in the Chapter 11 Case, as amended from time to
 time in accordance with Bankruptcy Rule 1009.

         “Secured Claim” means a Claim against the Debtor to the extent such Claim is
 secured by a valid lien, security interest, or other interest in property in which the
 Debtor has an interest, that has been perfected properly as required by applicable law
 and is not otherwise avoidable by the Trustee on behalf of the Debtor’s Estate or any
 other Person, but only to the extent of the value of the Debtor’s interests in such
 property determined in accordance with section 506(a) of the Bankruptcy Code, or, in
 the event that such Claim is subject to setoff under section 553 of the Bankruptcy Code,
 to the extent of such setoff.

      “Thompson Family Foundation” means The William S. and Nancy E. Thompson
 Foundation.

       “Thompson Family Foundation Claim” means the General Unsecured Claim (Claim
 No. 19) in the amount of $7,987,808 of the Thompson Family Foundation.

        “Thompson Family Foundation Settlement” means the settlement between the
 Trustee and the Thompson Family Foundation as provided herein and to be approved
 on the terms and conditions of this Plan. A copy of the Thompson Family Foundation
 Settlement shall be included as part of the Plan Supplement to filed in accordance with
 the terms and conditions of this Plan.

       “Trustee” means Stephen S. Gray, not individually but solely in his capacity as
 Chapter 11 Trustee of the Debtor’s Estate.

       “Unimpaired” means, with respect to a Class of Claims, that such Class is not
 Impaired.

         “U.S. Trustee” means the Office of the United States Trustee for the Southern
 District of New York.


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        “U.S. Trustee Fees” means all fees and charges assessed against the Estate under
 section 1930 of Title 28 of the United States Code, and interest, if any, for delinquent
 quarterly fees pursuant to section 3717 of Title 31 of the United States Code.

                                 ARTICLE II.
                      TREATMENT OF NON-CLASSIFIED CLAIMS

        Section 2.1. Non-Classification. As provided in section 1123(a) of the
 Bankruptcy Code, Administrative Expense Claims, Priority Tax Claims and
 Professional Fee Claims are not classified for purposes of voting on or receiving
 Distributions under the Plan. All such Claims are instead treated separately in
 accordance with the terms and conditions set forth in this Article II.

        Section 2.2. Administrative Expense Claims and Statutory Fees. Except to the
 extent that any entity entitled to payment of an Allowed Administrative Expense Claim
 agrees to a different treatment (including HMS in respect of the HMS Substantial
 Contribution Claim), each holder of an Allowed Administrative Expense Claim (other
 than Administrative Expense Claims that have already been satisfied prior to the
 Effective Date in the ordinary course of business or prosecute to Final Order of the
 Bankruptcy Court) shall receive Cash from the Plan Distribution Fund in an amount
 equal to such holder’s Allowed Administrative Expense Claim on the Effective Date, or
 as soon as practicable after the Administrative Expense Claim becomes an Allowed
 Administrative Expense Claim; provided, however, the Plan Administrator shall be
 responsible for the satisfaction of United States Trustee Fees arising under 28 U.S.C. §
 1930 and 31 U.S.C. §3717 from the Effective Date through the entry of a final decree
 closing, dismissal of, or conversion of the Chapter 11 Case; provided, further, under
 the HMS Settlement Agreement, HMS has agreed that any HMS Substantial
 Contribution Claim, to the extent allowed by the Bankruptcy Court, (i) shall not receive
 any payment from the Plan Distribution Fund, and (ii) shall receive a Litigation Trust
 Interest which will be subordinated to other holders of Litigation Trust Interests and
 only receive a distribution on account of such Litigation Trust Interest after all other
 holders of Litigation Trust Interests have been paid in full pursuant to the terms and
 conditions of the Litigation Trust Agreement.

        Each holder of an Administrative Expense Claim is required to file a proof of
 Administrative Expense Claim within thirty (30) days after the Effective Date. Nothing
 herein extends any Bar Date previously established by the Bankruptcy Court. Any
 request for payment of an Administrative Expense Claim that is not timely filed as set
 forth above shall be forever barred, and holders of such Claims shall not be able to
 assert such Claims in any manner against the Debtor, the Estate, the Litigation Trust,
 the Litigation Trustee, the Trustee or the Plan Administrator or any of the foregoing
 parties’ accountants, advisors, agents, attorneys, consultants, directors, employees,
 members, officers, or representatives.

        Section 2.3. Priority Tax Claims.       Except to the extent that the Plan
 Administrator determines to make payments to the holder of a Priority Tax Claim in
 accordance with the provisions of section 1129(a)(9)(C) of the Bankruptcy Code, or the
 holder of an Allowed Priority Tax Claim has been satisfied prior to the Effective Date or
 agrees to a different treatment, the Plan Administrator shall pay to each holder of an


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 Allowed Priority Tax Claim, in full and complete settlement, satisfaction and discharge
 of its Allowed Priority Tax Claim, Cash in an amount equal to such Allowed Priority
 Tax Claim on the date such Priority Tax Claim becomes an Allowed Priority Tax Claim,
 or as soon as is practicable thereafter, with interest as may be required by the
 Bankruptcy Code and provided under applicable non-bankruptcy law.

        Section 2.4. Professional Fee Claims. All Persons and Entities seeking an
 allowance of their Professional Fee Claim for services rendered and expenses incurred
 through and including the Confirmation Date under sections 330 or 331 of the
 Bankruptcy Code (a) shall, except to the extent such fees have previously been
 approved by a Final Order, file their respective applications for allowance of their
 Professional Fee Claim by not later than the Professional Fee Claims Bar Date or such
 other date as may be fixed by the Bankruptcy Court, and (b) to the extent granted, the
 Allowed Professional Fee Claim shall be paid by the Plan Administrator in full, in Cash,
 in such amounts as are Allowed by the Bankruptcy Court, first from the Allocated
 Restricted Funds and thereafter from the Plan Distribution Fund: (i) on the date upon
 which such Professional Fee Claim becomes an Allowed Claim or as soon thereafter as
 is practicable; (ii) upon such terms as may be mutually agreed upon between the
 holder of an Allowed Professional Fee Claim and the Plan Administrator, or (iii) in
 accordance with the terms and conditions of any applicable order entered by the
 Bankruptcy Court.

                                     ARTICLE III.
                              CLASSIFICATION OF CLAIMS

        Other than Administrative Expense Claims, Professional Fee Claims and Priority
 Tax Claims, Claims are classified for all purposes, including voting, Confirmation and
 Distributions, as set forth below:

        Class I          Allowed Secured Claims              Unimpaired/Deemed to
                                                             Accept

        Class II         Allowed Other Priority Claims       Unimpaired/Deemed to
                                                             Accept

        Class III        Allowed HMS General                 Impaired/ Entitled to Vote
                         Unsecured Claim                     to Accept or Reject the Plan

        Class IV         Allowed General Unsecured           Impaired/Entitled to Vote
                         Claims                              to Accept or Reject the Plan

                                    ARTICLE IV.
                                TREATMENT OF CLAIMS

       Section 4.1.   Class I: Secured Claims.

       (a)   Classification. Class I consists of Allowed Secured Claims.




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         (b) Treatment. Each holder of an Allowed Secured Claim, in full and final
 satisfaction, release and settlement of such Claim, shall receive one of the following
 alternative treatments, at the election of the Plan Administrator: (a) payment in full in
 Available Cash from the Plan Distribution Fund on or as soon as reasonably practicable
 after the later of (i) the Effective Date and (ii) the date the Claim becomes an Allowed
 Claim; (b) the legal, equitable and contractual rights to which such Claim entitles the
 holder, unaltered by the Plan; (c) the treatment described in section 1124(2) of the
 Bankruptcy Code; or (d) the possession of all collateral securing such Claim, without
 representation or warranty by, or recourse against the Estate. To the extent that the
 value of the Collateral securing any Allowed Secured Claim is less than the amount of
 such Allowed Secured Claim, the undersecured portion of such Claim shall be treated
 for all purposes under the Plan as a General Unsecured Claim in Class IV and shall be
 classified as such.

         (c)   Voting. Class I is Unimpaired. Each holder of an Allowed Secured Claim
 is conclusively presumed to have accepted the Plan and is not entitled to vote to accept
 or reject the Plan.

          Section 4.2.         Class II: Other Priority Claims.

          (a)   Classification. Class II consists of Allowed Other Priority Claims.

         (b) Treatment. After the payment of any Allowed Secured Claims, and except
 to the extent that a holder of an Allowed Other Priority Claim has been satisfied prior to
 the Effective Date or agrees to a different treatment, the Plan Administrator shall pay to
 each holder of an Allowed Other Priority Claim, in full and complete settlement,
 satisfaction and discharge of its Allowed Other Priority Claim, Available Cash from the
 Plan Distribution Fund in an amount equal to such Allowed Other Priority Claim on the
 later to occur of (a) the Effective Date or (b) the date such Other Priority Claim becomes
 an Allowed Other Priority Claim, or as soon as is practicable thereafter.

        (c)    Voting. Class II is Unimpaired. Each holder of an Allowed Other Priority
 Claim is conclusively presumed to have accepted the Plan and is not entitled to vote to
 accept or reject the Plan.

          Section 4.3.   Class III: HMS General Unsecured Claim.

          (a)   Classification. Class III consists of the Allowed HMS General Unsecured
 Claim.




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         (b) Treatment. In accordance with the HMS Settlement Agreement, HMS has
 agreed to waive its right to any Distribution from the Plan Distribution Fund on
 account of the Allowed HMS General Unsecured Claim, and will accept on the Effective
 Date in full and final settlement of its Allowed HMS General Unsecured Claim, the
 HMS Settlement Restricted Funds plus Litigation Trust Interests in respect of the Net
 HMS Claim, provided, however, in no case shall HMS receive an amount on account of
 its Litigation Trust Interests in excess of the Net HMS Claim (except in respect of any
 separate Litigation Trust Interest to which HMS may be entitled on account of the HMS
 Substantial Contribution Claim).

      (c)   Voting. Class III is Impaired. The holder of the Allowed HMS General
 Unsecured Claim is entitled to vote to accept or reject the Plan.

       Section 4.4.   Class IV: General Unsecured Claims.

       (a) Classification. Class IV consists of the Allowed General Unsecured Claims
 against the Debtor other than the HMS General Unsecured Claim.

        (b) Treatment. After the payment of any Allowed Administrative Expense
 Claims, Allowed Professional Fees, Allowed Secured Claims and Allowed Priority
 Claims, on the later to occur of (a) the Effective Date or (b) the date such General
 Unsecured Claim becomes an Allowed General Unsecured Claim, or as soon as is
 practicable thereafter, each holder of an Allowed General Unsecured Claim shall
 receive, in full and final satisfaction, release and settlement of such Allowed Claim, its
 Pro Rata share of Available Cash from the Plan Distribution Fund in an amount up to,
 but not to exceed, its Allowed General Unsecured Claim; provided, however, in
 accordance with the Thompson Family Foundation Settlement, the Thompson Family
 Foundation has agreed to waive its right to (i) receive any Distribution from the Plan
 Distribution Fund on account of the Thompson Family Foundation Claim, or (ii) acquire
 a Litigation Trust Interest.

 In addition to receiving its Pro Rata Share of Available Cash from the Plan Distribution
 Fund on the Effective Date, each holder of an Allowed General Unsecured Claim shall
 be eligible to make the Litigation Trust Election as set forth in the Litigation Trust
 Agreement and described more fully in Section 9.5 of this Plan; provided, however,
 holders of Disputed General Unsecured Claims shall not be eligible to make the
 Litigation Trust Election. Any holder of an Allowed General Unsecured Claim that
 makes the Litigation Trust Election shall acquire a Litigation Trust Interest in
 accordance with the terms and conditions of this Plan and the Litigation Trust
 Agreement; provided, however, in no case shall a holder of an Allowed General
 Unsecured Claim receive an amount on account of its General Unsecured Claim and
 Litigation Trust Interest in excess of its Allowed General Unsecured Claim.

      (c)   Voting. Class IV is Impaired. Each holder of an Allowed General
 Unsecured Claim is entitled to vote to accept or reject the Plan.




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                                       ARTICLE V.
                               IMPLEMENTATION OF THE PLAN

        Section 5.1. Implementation of the Plan. Following the Effective Date, the Plan
 will be implemented by the Plan Administrator in a manner consistent with the terms
 and conditions set forth in the Plan and the Confirmation Order.

         Section 5.2. Sale of Acquired Assets. The Confirmation Order shall authorize
 the private Sale and transfer of the Acquired Assets to the Purchasers in accordance
 with the terms of the Purchase Agreement pursuant to sections 363, 1123(a)(5),
 1123(b)(4), 1129(b)(2)(A), 1141, 1145 and 1146(a) of the Bankruptcy Code and sections
 510 and 511 of the New York Not-For-Profit Corporation Law (to the extent applicable),
 free and clear of all liens, Claims, interests or encumbrances except as otherwise set
 forth in the Purchase Agreement. Upon Confirmation, the Trustee shall be authorized
 to take any and all actions necessary to consummate the Sale. The Confirmation Order
 shall also approve the Grant of a portion of the Restricted Funds to the Charitable
 Recipients in accordance with applicable law and on the terms and conditions as set
 forth in the Grant Agreements.

        Section 5.3. HMS Settlement Agreement. The Confirmation Order shall
 approve the HMS Settlement Agreement that, among other things, provides for: (a) a
 waiver of HMS’s right to receive any Distribution from the Plan Distribution Fund
 under this Plan on account of its Allowed HMS General Unsecured Claim; (b) HMS to
 receive on the Effective Date, as approved by the NYSAG, approximately $10 million in
 Restricted Funds to HMS1; (c) a transfer by HMS of $100,000 to fund the Litigation
 Trust, and (d) the right of HMS to a Litigation Trust Interest in respect of the Net HMS
 Claim, in accordance with the Litigation Trust Agreement. The complete terms of the
 compromise and settlement agreed to by, and between, the Trustee and HMS are set
 forth in the HMS Settlement Agreement and are fully incorporated herein by reference.

         Section 5.4. Thompson Family Foundation Settlement. The Confirmation
 Order shall approve the Thompson Family Foundation Settlement that, among other
 things, provides for the waiver of the Thompson Family Foundation’s right to (i) receive
 any Distribution under the Plan on account of the Thompson Family Foundation Claim,
 or (ii) make the Litigation Trust Election in accordance with the Litigation Trust
 Agreement.

         Section 5.5. Plan Funding. On the Effective Date, the Trustee shall transfer the
 Litigation Trust Assets to the Litigation Trust and all remaining Assets of the Estate to
 the Plan Distribution Fund. The funds utilized to make Distributions from the Plan
 Distribution Fund have been or will be generated from, among other things, Available
 Cash on hand, including the proceeds of the Sale and any payment from HMS pursuant
 to the terms and conditions of the HMS Settlement Agreement, and the proceeds of the


 1   In an amount to be adjusted per the HMS Settlement depending on whether there is “Unsecured Claim
     Distribution Shortfall” as that term is defined in the HMS Settlement Agreement.




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 liquidation or other disposition of the remaining Assets of the Debtor, excluding
 Litigation Trust Assets.

        Section 5.6. Liquidation of Remaining Assets. From and after the Effective
 Date, except as otherwise expressly provided herein, the Plan Administrator may,
 without further approval of the Bankruptcy Court, use, sell at public or private sale,
 assign, transfer, or otherwise dispose of any remaining Assets and convert same to Cash
 to be Distributed in accordance with the terms of this Plan.

       Section 5.7. Deemed Dissolution Under Applicable Nonbankruptcy Law. The
 Confirmation Order will provide that, upon the date a final decree is entered in the
 Chapter 11 Case, the Debtor will be deemed dissolved under applicable nonbankruptcy
 law without further Order of the Court or any other court.

        Section 5.8. Corporate Action. On, and after, the Effective Date, the
 appointment of the Plan Administrator, and any and all other matters provided for
 under the Plan involving corporate action by the Debtor, the Estate, or the Trustee
 including, without limitation, the transfer of management responsibilities of the Debtor
 from the Trustee to the Plan Administrator, shall be deemed to have occurred and shall
 be in effect from and after the Effective Date pursuant to applicable law, without any
 requirement of further action by the Trustee.

               On the Effective Date, the Plan Administrator shall be authorized to issue,
 execute and deliver the agreements, documents, securities and instruments
 contemplated by the Plan (or necessary or desirable to effect the transactions
 contemplated by the Plan) in the name of and on behalf of the Debtor and the post-
 Confirmation Estate, including, without limitation, the Litigation Trust Agreement.
 Upon the entry of a final decree in this Chapter 11 Case, the Debtor shall be deemed
 dissolved for all purposes without the necessity for any other or further actions to be
 taken by or on behalf of the Debtor or payments to be made in connection therewith;
 provided, however, that the Plan Administrator on behalf of the Estate may take any
 appropriate or necessary action to dissolve under applicable law. From and after the
 Effective Date, the Plan Administrator or the Trustee, as applicable, shall not be
 required to file any document, or take any action, to withdraw its business operations
 from any states where the Debtor previously conducted business; provided, further,
 upon the Confirmation Date, the Plan Administrator shall not accept any further
 donations made to or received by the Debtor.

       Section 5.9.   Powers and Obligations of the Plan Administrator.

              (a)      The Confirmation Order shall provide for the appointment of the
 Plan Administrator. The compensation of the Plan Administrator shall be as set forth in
 the Plan Supplement.       The Plan Administrator shall be deemed the Estate
 representative in accordance with section 1123 of the Bankruptcy Code and shall have
 all powers, authority and responsibilities specified under sections 704 and 1106 of the
 Bankruptcy Code.

              (b)       The Plan Administrator will act for the Debtor’s Estate in a
 fiduciary capacity for the Estate, subject to the provisions of the Plan. On the Effective


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 Date, the Plan Administrator shall succeed to all of the rights of the Trustee with respect
 to the Assets, other than the Litigation Trust Assets. The powers and duties of the Plan
 Administrator shall include, without further order of the Court, except where expressly
 stated otherwise, the rights or obligations:

                     (i)    to take such steps as may be necessary or otherwise
 desirable to administer and close any and all of the transactions as may be
 contemplated by the terms of the Purchase Agreement, the HMS Settlement Agreement
 or this Plan;

                      (ii)   to invest Cash and withdraw and make Distributions of
 Cash to holders of Allowed Claims and pay taxes and other obligations owed by the
 Estate or incurred by the Plan Administrator in connection with the wind-down of the
 Estate in accordance with the Plan;

                    (iii) to receive, manage, invest, supervise, and protect the Assets,
 including paying taxes or other obligations incurred in connection with administering
 the Assets;

                     (iv) to engage attorneys, consultants, agents, employees and all
 professional persons, to assist with respect to the Plan Administrator’s responsibilities;

                       (v)   to pay the fees and expenses for the attorneys, consultants,
 agents, employees and professional persons engaged by the Plan Administrator and to
 pay all other expenses in connection with administering the Plan and for winding down
 the affairs of the Debtor and this Estate in accordance with the Plan;

                    (vi) to satisfy any liabilities, expenses and other Claims incurred
 by the Plan Administrator in the ordinary course of business and without further order
 of the Court;

                    (vii) to execute and deliver all documents, and take all actions,
 necessary to consummate the Plan and wind-down the Debtor’s business;

                       (viii) to dispose of, and deliver title to others of, or otherwise
 realize the value of, all the remaining Assets in accordance with the terms provided for
 herein;

                     (ix)    to coordinate the storage and maintenance of the Debtor’s
 books and records (other than those books and records constituting Litigation Trust
 Assets and transferred to the Litigation Trust);

                     (x)    to oversee compliance with the Estate’s accounting, finance
 and reporting obligations;

                     (xi)   to prepare United States Trustee monthly reports;

                     (xii) to oversee the filing of final tax returns, audits and other
 corporate dissolution documents if as may be required;



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                     (xiii) to perform any additional corporate actions as necessary to
 carry out the wind-down, liquidation and ultimate dissolution of the Debtor;

                     (xiv) except as otherwise provided for in the Plan, to object to
 Claims against the Debtor;

                     (xv) except as otherwise provided for in the Plan, to compromise
 and settle Claims against the Debtor; provided, however, the Plan Administrator shall
 not settle any Claim that may adversely affect the Litigation Trust Claims without the
 prior written consent of the Litigation Trustee.

                      (xvi) to implement and/or enforce all provisions of the Plan;

                       (xvii) to implement and/or enforce all agreements entered into
 prior to the Effective Date;

                      (xviii) perform the duties, exercise the powers, and assert the rights
 of a trustee under sections 704 and 1106 of the Bankruptcy Code, including, without
 limitation, enforcing contracts, and asserting claims, defenses, offsets and privileges;
 and

                    (xix) to use such other powers as may be vested in or assumed by
 the Plan Administrator pursuant to the Plan or Bankruptcy Court Order or as may be
 necessary and proper to carry out the provisions of the Plan.

               Section 5.10. Resignation, Death or Removal of Plan Administrator. In
 the event of the resignation, removal, death or incapacity of the Plan Administrator, the
 Oversight Committee shall designate another Person to become the Plan Administrator,
 and thereupon the successor Plan Administrator, without further act, shall become fully
 vested with all of the rights, powers, duties and obligations of his predecessor. No
 successor Plan Administrator hereunder shall in any event have any liability or
 responsibility for the acts or omissions of his or her predecessors.

                Section 5.11. Litigation Trust Arrangements. On the Effective Date, the
 Trustee, Plan Administrator and the Litigation Trustee will enter into the Litigation
 Trust Agreement pursuant to which the Litigation Trust Assets will be transferred to
 the Litigation Trust and the Litigation Trust Funds will be advanced to the Litigation
 Trust. The Litigation Trustee shall take such actions as may be necessary to implement
 the Litigation Trust and the terms of the Litigation Trust Agreement in accordance with
 Article IX of this Plan. To the extent provided in section 1145 of the Bankruptcy Code
 and under applicable nonbankruptcy law, the issuance under the Plan of the Litigation
 Trust Interests will be exempt from registration under the Securities Act of 1933, as
 amended, and the Investment Company Act of 1940, as amended, pursuant to section
 7(a) and 7(b) of that Act, and all rules and regulations promulgated under any of the
 foregoing.

                Section 5.12. Preservation of Causes of Action. In accordance with section
 1123(b)(3)(B) of the Bankruptcy Code, the Litigation Trust may pursue all reserved
 rights of action, including, without limitation, all Causes of Action including Avoidance


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 Actions and D&O Claims. Any Distributions provided for in the Plan and the
 allowance of any Claim for the purpose of voting on the Plan is and shall be without
 prejudice to the rights of the Litigation Trustee to pursue and prosecute any and all
 Causes of Action . Except as otherwise set forth in the Plan, all Causes of Action shall
 survive Confirmation of the Plan.

               Section 5.13. Termination of Appeals Relating to HMS.          Promptly
 following the Effective Date, the Trustee and/or Plan Administrator shall dismiss with
 prejudice all pending appeals relating to the HMS General Unsecured Claim.

                                     ARTICLE VI.
                              DISTRIBUTIONS AND VOTING

        Section 6.1.   Plan Distributions.

                (a)      The Plan Administrator shall make Distributions to holders of
 Allowed Claims in accordance with Article IV of the Plan on, or as soon as reasonably
 practicable after, the Effective Date. From time to time, the Plan Administrator shall
 make Pro Rata Distributions to holders of Allowed Class IV Claims in accordance with
 Article IV of the Plan.

                (b)       Notwithstanding the foregoing Section 6.1(a), the Plan
 Administrator may retain such amounts (i) as are reasonably necessary to meet
 contingent liabilities and to maintain the value of the Assets of the Estate during
 liquidation, (ii) to pay reasonable administrative expenses (including the costs and
 expenses of the Plan Administrator and the fees, costs and expenses of all professionals
 retained by the Plan Administrator, and any taxes imposed in respect of the Assets), (iii)
 to satisfy other liabilities to which the Assets are otherwise subject, in accordance with
 the Plan, and (iv) to establish any necessary reserve. All Distributions to the holders of
 Allowed Claims shall be made in accordance with the Plan. The Plan Administrator
 may withhold from amounts distributable to any Person any and all amounts
 determined in the Plan Administrator’s reasonable sole discretion to be required by any
 law, regulation, rule, ruling, directive or other governmental requirement. Holders of
 Allowed Claims shall, as a condition to receiving Distributions, provide such
 information and take such steps as the Plan Administrator may reasonably require to
 ensure compliance with withholding and reporting requirements and to enable the Plan
 Administrator to obtain certifications and information as may be necessary or
 appropriate to satisfy the provisions of any tax law. In the event that a holder of an
 Allowed Claim does not comply with the Plan Administrators requests in the preceding
 sentence within ninety (90) days, no Distribution shall be made on account of such
 Allowed Claim, such holder shall have forfeited its right to Distributions under the
 Plan, and the Plan Administrator shall reallocate such Distribution for the benefit of all
 other holders of Allowed Claims as the case maybe, in accordance with the Plan.

       Section 6.2. Address for Delivery of Distributions. If any Distribution is
 returned to the Plan Administrator as undeliverable, no Distributions shall be made to
 such holder unless the Plan Administrator is notified of such holder’s then current
 address within ninety (90) days after such Distribution was returned. After such date, if
 such notice was not provided, a holder shall have forfeited its right to such Distribution,


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 and the undeliverable Distributions shall be reallocated and distributed to holders of
 Allowed Claims in accordance with the Plan.

        Section 6.3. Distributions under Twenty-Five Dollars. The Plan Administrator
 shall not be required to make any Cash payment of less than twenty-five dollars
 ($25.00) with respect to any Claim unless a request therefor is made in writing to the
 Plan Administrator on or before twenty (20) days after the Effective Date. Any such
 Distributions not subject to a timely request for payment shall be distributed by the
 Plan Administrator to the other holders of Allowed Claims in accordance with the
 provisions of the Plan.

         Section 6.4. Time Bar to Cash Payments.Checks issued in respect of Allowed
 Claims shall be null and void if not negotiated within ninety (90) days after the date of
 issuance thereof. Requests for reissuance of any voided check shall be made directly to
 the Plan Administrator by the holder of the Allowed Claim to whom such check was
 originally issued within one hundred eighty (180) days of the date of issuance thereof.
 If no request is made as provided in the preceding sentence, any Claims in respect of
 such void check shall be discharged and forever barred and such unclaimed
 Distribution shall be reallocated and distributed to those holders of Allowed Claims set
 forth in the Plan.

        Section 6.5. Distributions to Holders as of the Confirmation Date. As of the
 close of business on the Confirmation Date, the claims register shall be closed, and there
 shall be no further changes in the record holders of any Claims. Neither the Trustee, the
 Plan Administrator, nor the Litigation Trustee, as applicable, shall have any obligation
 to recognize any transfer of any Claims occurring after the close of business on the
 Confirmation Date, and shall instead be entitled to recognize and deal for all purposes
 under the Plan (except as to voting to accept or reject the Plan) with only those holders
 of record as of the close of business on the Confirmation Date.

        Section 6.6. Abandoned Assets. Upon the election of the Plan Administrator,
 with the approval of the Oversight Committee, the Plan Administrator may abandon
 any Assets, which book value shall not exceed $10,000, without the need for additional
 approval of the Bankruptcy Court, and upon such abandonment, such Assets shall
 cease to be Assets of the Estate.

        Section 6.7. Windup. After (a) the Plan has been fully administered, (b) all
 Disputed Claims have been resolved, and (c) all Assets not transferred to the Litigation
 Trust have been reduced to Cash or abandoned, the Plan Administrator shall (i) effect a
 final Distribution of all Cash remaining (after reserving sufficient Cash to pay all
 unpaid expenses of administration of the Plan and all expenses reasonably expected to
 be incurred in connection with the final Distribution) to holders of Allowed General
 Unsecured Claims in accordance with the Plan

        Section 6.8. Distribution of Unclaimed Property. Any Distribution of Assets
 (Cash or otherwise) provided for under the Plan which is unclaimed after ninety (90)
 days following such Distribution shall irrevocably revert to the Estate for re-
 Distribution in accordance with the Plan.



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        Section 6.9. Saturday, Sunday, or Legal Holiday. If any payment or act under
 the Plan is required to be made or performed on a date that is not a Business Day, then
 the making of such payment or the performance of such act may be completed on the
 next Business Day.,

        Section 6.10. Voting of Claims. Each holder of an Allowed Claim in an Impaired
 Class (Class III and Class IV) which receives or retains Assets under the Plan shall be
 entitled to vote separately to accept or reject the Plan and indicate such vote on a duly
 executed and delivered Ballot as provided in such order as is entered by the Bankruptcy
 Court establishing certain procedures with respect to the voting to accept or reject the
 Plan. Each holder of an Allowed Claim in Class IV shall also be afforded the
 opportunity to make the Litigation Trust Election, and is entitled to make the Litigation
 Trust Election whether or not such holder votes to accept or reject the Plan.

                               ARTICLE VII.
                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Section 7.1. Assumption or Rejection of Executory Contracts. Effective on the
 Effective Date, all Executory Contracts are hereby specifically deemed rejected, except
 for any Executory Contract (a) that has been specifically assumed, or assumed and
 assigned, by the Debtor or Trustee on or before the Confirmation Date with the
 approval of the Court, (b) in respect of which a motion for assumption or assumption
 and assignment has been filed with the Court on or before the Confirmation Date, or
 (c) that is specifically designated as a contract to be assumed on a schedule to be
 included as part of the Plan Supplement.

        Section 7.2. Approval of Assumption or Rejection of Executory Contracts.
 Entry of the Confirmation Order, but subject to the occurrence of the Effective Date,
 shall constitute (a) the approval pursuant to sections 365(a) and 1123(b)(2) of the
 Bankruptcy Code of the assumption, or assumption and assignment, of the Executory
 Contracts assumed, or assumed and assigned, in accordance with Section 7.1 of the
 Plan, and (b) the approval pursuant to Sections 365(a) and 1123(b)(2) of the Bankruptcy
 Code of the rejection of the Executory Contracts rejected in accordance with Section 7.1
 of the Plan.

         Section 7.3. Bar Date for Filing Proofs of Claim Relating to Executory Contracts
 Rejected Pursuant to the Plan. Claims against the Debtor arising out of the rejection of
 Executory Contracts pursuant to the Plan must be filed with the Court no later than
 forty-five (45) days after the later of service of (a) notice of entry of an order approving
 the rejection of such Executory Contract which Order may be the Confirmation Order,
 and (b) notice of occurrence of the Effective Date. Any such Claims not filed within
 such time shall be forever barred from assertion against the Estate, and any and all of
 the Assets of the Estate.

        Section 7.4. Compensation and Benefit Programs. To the extent not previously
 terminated, and except as set forth in a schedule to be included in the Plan Supplement,
 all employment and severance agreements and policies, and all employee compensation
 and benefit plans, policies and programs of the Debtor applicable generally to its
 current employees or officers as in effect on the Confirmation Date, including, without


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 limitation, all savings plans, retirement plans, health care plans, disability plans,
 severance benefit plans, incentive plans and life, accidental death and dismemberment
 insurance plans, shall be terminated as of the Confirmation Date.

        Section 7.5. Insurance Policies. The D&O Insurance Policies and any
 agreements, documents or instruments relating thereto shall be treated as Executory
 Contracts of the Debtor under the Plan and the Bankruptcy Code and shall be assumed
 by the Debtor pursuant to section 365 of the Bankruptcy Code, and shall continue in full
 force and effect thereafter in accordance with their respective terms. Continuing
 obligations of third parties to the Debtor under any D&O Insurance Policies that have
 otherwise ceased to be executory or have otherwise expired on or prior to the Effective
 Date, including, without limitation, continuing obligations to pay insured claims, to
 defend against and process claims, to refund premiums or overpayments, to provide
 indemnification, contribution or reimbursement, to maintain confidentiality, or to honor
 releases, shall continue and shall be binding on such third parties unless otherwise
 specifically terminated by the Litigation Trust or otherwise by order of Bankruptcy
 Court.

                                ARTICLE VIII.
               PROVISIONS FOR RESOLVING AND TREATING CLAIMS

       Section 8.1.   Funding of the Disputed Claims Reserve.

              (a)      As soon as practicable following the Effective Date, the Disputed
 Claims Reserve shall be established by the Plan Administrator. The portion of the
 Available Cash attributable to Disputed Claims as determined by the Plan
 Administrator, shall be held by the Plan Administrator in the Disputed Claims Reserve.

                (b)     The holder of a Disputed Claim, to the extent it has been
 determined by Final Order to be an Allowed Claim, shall receive a Distribution from
 the Disputed Claims Reserve on account of its Disputed Claim in an amount equal to
 that which it would have been entitled if the portion of its Claim so Allowed had been
 Allowed as of the Effective Date. Any remaining amount in the Disputed Claims
 Reserve attributable to the disallowed portion of a Disputed Claim shall be paid first to
 HMS in return of any payment funded by HMS on account of such Disputed Claim and
 second shall be distributed to holders of Allowed Claims in Class IV in accordance with
 Section 4.4 of the Plan.

               (c)      For the purposes of effectuating the Distributions to the holders
 of Allowed Claims, the Bankruptcy Court may estimate the amount of Disputed Claims
 pursuant to section 502(c) of the Bankruptcy Code, in which event the amounts so
 estimated shall be deemed the amounts of the Disputed Claims for purposes of
 Distribution under the Plan. In lieu of estimating the amount of any Disputed Claim for
 purposes of allowance and Distribution, the Bankruptcy Court may also estimate the
 amount to be reserved in the Disputed Claim Reserve for such Disputed Claim
 (singularly or in the aggregate), or such amount may be fixed by agreement in writing
 by and between the Plan Administrator and the holder of a Disputed Claim. The
 amount as determined by the Court or agreed upon by the Plan Administrator and the
 holder of a Disputed Claim to be reserved in the Disputed Claim Reserve in respect of


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 any Disputed Claim shall constitute a maximum limitation on such Claim under the
 Plan.

         Section 8.2. Disputed Claims. Except as otherwise provided herein including
 Section 9.14, the Plan Administrator shall have the right to object to all Claims on any
 basis, including those Claims that: (i) are listed in the Schedules, (ii) are listed therein as
 disputed, contingent, and/or unliquidated, (iii) are listed therein at a lesser amount
 than asserted by the respective Creditor, or (iv) are listed therein at for a different
 category of claim than asserted by the respective Creditor. Subject to further extension
 by the Bankruptcy Court, the Plan Administrator may object to (i) the allowance of
 Class IV Claims up to one hundred eighty (180) days after the Effective Date, (ii) the
 allowance of Administrative Expense Claims, Priority Claims and Secured Claims up to
 the later of (A) ninety (90) days after the Effective Date or (B) the deadline for filing an
 objection established by order of the Bankruptcy Court; provided, however, that an
 objection to a Claim based on section 502(d) of the Bankruptcy Code may be made at
 any time in any adversary proceeding against the holder of any relevant Claim. The
 filing of a motion to extend the deadline to object to any Claims shall automatically
 extend such deadline until a Final Order is entered on such motion. In the event that
 such motion to extend the deadline to object to Claims is denied by the Bankruptcy
 Court, such deadline shall be the later of the current deadline (as previously extended,
 if applicable) or thirty (30) days after the Court’s entry of an order denying the motion
 to extend such deadline. Except as otherwise provided herein including Section 9.14,
 from and after the Effective Date, the Plan Administrator shall succeed to all of the
 rights, defenses, offsets, and counterclaims of the Estate in respect of all Claims, and in
 that capacity shall have the power to prosecute, defend, compromise, settle, and
 otherwise deal with all such objections, subject to the terms of the Plan; provided,
 further, the Litigation Trust shall have the exclusive right to object to and resolve the
 Mullaney Claim.

        Section 8.3.   Settlement of Disputed Claims.

               (a)     Except as otherwise provided herein including Section 9.14,
 pursuant to Bankruptcy Rule 9019(b) the Plan Administrator, and/or Litigation Trustee,
 as applicable, may settle any Disputed Claim (or aggregate of Claims if held by a single
 Creditor) without notice, a Bankruptcy Court hearing or Bankruptcy Court approval.

                (b)       The Plan Administrator shall give notice to the Oversight
 Committee, the Litigation Trustee, and HMS of (i) a settlement of any Disputed Class
 IV Claim (or aggregate of Claims if held by a single Creditor) that results in the
 Disputed portion of such Disputed Class IV Claim(s) being Allowed in an amount in
 excess of $10,000, (ii) a settlement of any Disputed Administrative Expense Claims or
 Priority Claims, or (iii) settlement of any Disputed Secured Claims. The Oversight
 Committee, the Litigation Trustee, and/or HMS shall have ten (10) days after service of
 such notice to object to such settlement. Any such objection shall be in writing and sent
 to the Plan Administrator and the settling party. If no written objection is received by
 the Plan Administrator and the settling party prior to the expiration of such ten (10) day
 period, the Plan Administrator and the settling party shall be authorized to enter into
 the proposed settlement without a hearing or Bankruptcy Court approval. If a written
 objection is timely received, the Plan Administrator, the settling party and the objecting


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 party shall use good-faith efforts to resolve the objection. If the objection is resolved,
 the Plan Administrator and the settling party may enter into the proposed settlement
 (as and to the extent modified by the resolution of the objection) without further notice
 of hearing or Bankruptcy Court approval; provided, however, that the Claim of the
 settling party against the Estate shall not be greater under the proposed settlement than
 that disclosed in the notice. Alternatively, the Plan Administrator may seek Bankruptcy
 Court approval of the proposed settlement upon notice and a hearing.

        Section 8.4. No Distributions Pending Allowance. Notwithstanding any
 provision in the Plan to the contrary, no partial payments and no partial Distributions
 shall be made by the Plan Administrator with respect to any portion of any Claim if
 such Claim or any portion thereof is a Disputed Claim. In the event and to the extent
 that a Claim becomes an Allowed Claim after the Effective Date, the holder of such
 Allowed Claim shall receive a Distribution in accordance with the terms and conditions
 of the Plan.

                                       ARTICLE IX.
                                  THE LITIGATION TRUST

        Section 9.1. Establishment and Implementation of the Litigation Trust. On the
 Effective Date, the Trustee, the Plan Administrator and the Litigation Trustee shall
 execute the Litigation Trust Agreement and shall take all other steps necessary to
 establish the Litigation Trust for the benefit of the holders of Litigation Trust Interests in
 accordance with the terms and conditions of the Plan and the Litigation Trust
 Agreement.

        Section 9.2.   Transfer of Litigation Trust Assets.

                 (a)     On the Effective Date, the Plan Administrator shall transfer to the
 Litigation Trust all of the Estate’s right, title, and interest in the Litigation Trust Assets,
 including, without limitation, the Litigation Trust Claims. Any recoveries on account of
 the Litigation Trust Assets shall be distributed to holders of Litigation Trust Interests.
 All Persons necessary shall execute any documents or other instruments as necessary to
 cause title to the applicable Assets to be transferred to and vested in the Litigation Trust
 in accordance with the terms and conditions of the Litigation Trust Agreement. For
 purposes of section 553 of the Bankruptcy Code, the transfer of the Litigation Trust
 Assets to the Litigation Trust shall not affect the mutuality of obligations which
 otherwise may have existed prior to the effectuation of such transfer.

                (b)      To the extent that any Litigation Trust Assets cannot be
 transferred to the Litigation Trust because of a restriction on transferability under
 applicable non-bankruptcy law that is not superseded or preempted by section 1123 of
 the Bankruptcy Code or any other provision of the Bankruptcy Code, such Litigation
 Trust Assets shall be deemed to have been retained by the Estate and the Litigation
 Trustee shall be deemed to have been designated as a representative of the Estate, as
 applicable, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code to enforce and
 pursue such Litigation Trust Assets on behalf of the Estate. Notwithstanding the
 foregoing, all net proceeds of such Litigation Trust Assets shall be transferred to the



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 Litigation Trust to be distributed to holders of the Litigation Trust Interests consistent
 with the terms of this Plan and the Litigation Trust Agreement.

                (c)     The Litigation Trustee shall be deemed hereby substituted as
 plaintiff, defendant, or in any other capacity for the Debtor or Trustee in all pending
 matters involving Litigation Trust Claims without the need for filing any motion for
 such relief.

               (d)       The Litigation Trust shall also be responsible for, and respond on
 behalf of the Estate to, any subpoenas and requests for production of documents in
 connection with Litigation Trust Claims. To the extent necessary, the Plan
 Administrator shall provide reasonable cooperation in the response to any such
 requests for the production of documents.

               (e)       Any attorney-client privilege, work-product privilege, or other
 privilege or immunity attaching to any documents or communications (whether written
 or oral) together with all books and records associated with and related to the Litigation
 Trust Claims shall be transferred to the Litigation Trust and shall vest in the Litigation
 Trustee on the terms and conditions of the Litigation Trust Agreement. The Plan
 Administrator and the Litigation Trustee are authorized to take all necessary actions to
 effectuate the transfer of such privileges. Privileged communications may be shared
 among the Litigation Trust and the Oversight Committee without compromising the
 privileged nature of such communications in accordance with the “common interest”
 doctrine.

         Section 9.3. Purpose of the Litigation Trust. The Litigation Trust shall be
 established for the sole purpose of liquidating the Litigation Trust Assets, in accordance
 with Treasury Regulation section 301.7701-4(d), with no objective to continue or engage
 in the conduct of a trade or business. The Litigation Trust Agreement may be amended,
 with the consent of the Litigation Trustee and the Oversight Committee, as applicable,
 to the extent necessary to maintain the tax status of the Litigation Trust.

        Section 9.4. Funding Expenses of the Litigation Trust. In accordance with the
 Litigation Trust Agreement, upon the creation of the Litigation Trust, the Litigation
 Trust Funds shall be transferred to the Litigation Trust to finance the operations of the
 Litigation Trust. On the Effective Date, holders of Litigation Trust Interests shall be
 required to contribute their allocable share of Litigation Trust Funds to the Litigation
 Trust. Following the Effective Date, the holders of the Litigation Trust Interests shall
 provide any additional Litigation Trust Funds as may be required by the Litigation
 Trustee to finance the operations of the Litigation Trust in accordance with the
 Litigation Trust Agreement.

        Section 9.5. The Litigation Trust Election. Each holder of an Allowed Claim in
 Class IV shall also have the opportunity to make the Litigation Trust Election and
 thereby receive Litigation Trust Interests in exchange for such holder’s agreement to
 contribute Litigation Trust Funds to the Litigation Trust in accordance with the terms of
 the Litigation Trust Agreement.




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       The Ballot provided to holders of Allowed Claims in Class IV will provide the
 holders of such Claims with the opportunity to make the Litigation Trust Election. All
 holders of Allowed Claims in Class IV are eligible to make the Litigation Trust Election
 and may do so whether such holder votes to accept or reject the Plan.

                 Under the terms of the Litigation Trust Agreement, each holder of an
 Allowed Claim in Class IV that makes the Litigation Trust Election shall be required to
 contribute (i) an initial funding amount that is equal to the same percentage of its net
 claim (i.e., the difference between the Allowed amount of its General Unsecured Claim
 and any Distribution it receives or is anticipated to receive on account of such Claim
 under the Plan) as the percentage of the Net HMS Claim contributed by HMS to the
 Litigation Trust, and (ii) to the extent that the Litigation Trustee determines that the
 Litigation Trust requires additional Litigation Trust Funds, contribute its Pro Rata share
 of the amount of such additional funding, calculated based on such holder’s
 proportionate share of Litigation Trust Interests.

      IN CONSIDERING WHETHER TO MAKE THE LITIGATION TRUST
 ELECTION, HOLDERS OF ALLOWED CLAIMS IN CLASS IV SHOULD BE
 ADVISED THAT TO THE EXTENT THAT ANY HOLDER OF A LITIGATION
 TRUST INTEREST FAILS TO MAKE ANY FUNDING CONTRIBUTION
 REQUIRED BY THE LITIGATION TRUSTEE, IT WILL FORFEIT ITS LITIGATION
 TRUST INTEREST IN ITS ENTIRETY.

       Section 9.6.   Litigation; Responsibilities of Litigation Trustee.

               (a)       In accordance with the Litigation Trust Agreement, the Litigation
 Trustee in the exercise of its reasonable business judgment, shall, in an expeditious but
 orderly manner, liquidate and convert to Cash the Litigation Trust Assets, make timely
 Distributions, and not unduly prolong the duration of the Litigation Trust. The
 liquidation of the Litigation Trust Assets may be accomplished either through the
 prosecution, compromise and settlement, abandonment, or dismissal of any or all
 claims, rights, or Litigation Trust Claims (whether or not such suits are brought in the
 name of the Litigation Trust), or otherwise. The Litigation Trustee may incur any
 reasonable and necessary expenses in liquidating and converting the Litigation Trust
 Assets to Cash and shall be reimbursed in accordance with the provisions of the
 Litigation Trust Agreement.

                (b)     The Litigation Trustee in the exercise of its reasonable business
 judgment shall have the power to (i) prosecute for the benefit of the Litigation Trust all
 Claims, rights, and Litigation Trust Claims (whether such suits are brought in the name
 of the Litigation Trust or otherwise) and (ii) otherwise perform the functions and take
 the actions provided for or permitted herein or in any other agreement executed by the
 Litigation Trustee pursuant to the Plan. Any and all proceeds generated from the
 Litigation Trust Assets shall be the property of the Litigation Trust for the benefit of
 holders of Litigation Trust Interests (after payment of all expenses of the Litigation
 Trust).

         Section 9.7. No Liability of Litigation Trust. The Litigation Trust shall have no
 liability on any Claims or other liabilities of the Debtor, the Trustee, or the Plan


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 Administrator. The Litigation Trust shall not be deemed a successor-in-interest of the
 Debtor other than as specifically set forth in this Plan or the Litigation Trust Agreement.

        Section 9.8.   Litigation Trustee.

               (a)      Pursuant to this Plan and the Litigation Trust Agreement, the
 Litigation Trustee shall act in a fiduciary capacity on behalf of the holders of the
 Litigation Trust Interests.

                (b)      The Litigation Trustee shall be entitled to compensation and
 reimbursement of expenses from the Litigation Trust. The terms of such compensation
 shall be set forth in the Plan Supplement.

               (c)      On and after the Effective Date, subject to the terms of the
 Litigation Trust Agreement, the Litigation Trustee may engage such professionals and
 experts as may be deemed necessary and appropriate by the Litigation Trustee to assist
 the Litigation Trustee in carrying out the provisions of this Plan and the Litigation Trust
 Agreement. Subject to the terms of the Litigation Trust Agreement, for services
 performed from and after the Effective Date, Professionals retained by the Litigation
 Trustee shall receive compensation and reimbursement of expenses from the Litigation
 Trust in a manner to be determined by the Litigation Trustee in consultation with the
 Oversight Committee.

        Section 9.9. Oversight Committee. The terms of the appointment and authority
 of the Oversight Committee shall be described and defined in the Litigation Trust
 Agreement. The duties and powers of the Oversight Committee shall terminate upon
 the liquidation of the Litigation Trust. The Oversight Committee’s role shall be to
 consult with, and review the actions of, the Litigation Trustee, and to perform the
 functions set forth in the Litigation Trust Agreement.

     Section 9.10. Limitation on Liability of Litigating Trustee and Oversight
 Committee.

                (a)     Neither the Litigating Trustee, the Oversight Committee, their
 respective members, designees or professionals, nor any duly designated agent or
 representative of the Litigating Trustee or the Oversight Committee, nor their respective
 employees, shall be liable for the act or omission of any other member, designee, agent,
 or representative of such Litigating Trustee or Oversight Committee, nor shall such
 Litigation Trustee, nor any member of the Oversight Committee, be liable for any act or
 omission taken or omitted to be taken in its capacity as Litigating Trustee, or as a
 member of the Oversight Committee, respectively, other than for specific acts or
 omissions resulting from such Litigating Trustee’s or such member’s own willful
 misconduct, gross negligence, or fraud. The Litigating Trustee shall be entitled to enjoy
 all of the rights, powers, immunities and privileges applicable to a chapter 7 trustee and
 the Oversight Committee shall be entitled to enjoy all of the rights, powers, immunities
 and privileges of an official committee of unsecured creditors.

               (b)      The Litigation Trust shall indemnify and hold harmless the
 Litigating Trustee, the Oversight Committee and its members, and all duly designated


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 agents, professionals and representatives thereof (in their capacity as such), from and
 against and in respect of all liabilities, losses, damages, claims, costs and expenses
 (including reasonable attorneys’ fees, disbursements, and related expenses) which such
 parties may incur or to which such parties may become subject in connection with any
 action, suit, proceeding or investigation brought by or threatened against such parties
 arising out of or due to their acts or omissions, or consequences of such acts or
 omissions, with respect to the implementation or administration of the Litigating Trust
 or this Plan or the discharge of their duties under the Litigating Trust Agreement;
 provided, however, that no such indemnification will be made to such persons for
 actions or omissions as a result of willful misconduct, gross negligence, or fraud.
 Persons dealing with the Litigating Trustee shall look only to the Litigating Trust Assets
 to satisfy any liability incurred by the Litigating Trustee or the Oversight Committee to
 such person in carrying out the terms of the Litigating Trust Agreement, and neither the
 Litigating Trustee nor the Oversight Committee (or any member thereof) shall have any
 personal obligation to satisfy any such liability.

                (c)       The Oversight Committee shall have the power and authority to
 utilize the services of its counsel, which shall be the same as the professionals retained
 by the Litigation Trustee, as necessary to perform the duties of the Oversight
 Committee and to authorize and direct such Persons to act on behalf of the Oversight
 Committee in connection with any matter requiring its attention or action.

        Section 9.11. Distribution; Withholding. From time to time, in accordance with
 the terms and conditions of the Litigation Trust Agreement, the Litigation Trustee shall
 distribute to the holders of the Litigation Trust Interests, all net Cash income plus all net
 Cash proceeds from the liquidation of the Litigation Trust Assets and/or prosecution of
 the Litigation Trust Claims; provided, however, that the Litigation Trust may retain
 such amounts (i) as are reasonably necessary to meet contingent liabilities and to
 maintain the value of the Litigation Trust Assets during liquidation, (ii) to pay
 reasonable administrative expenses (including any taxes imposed on the Litigation
 Trust or in respect of the Litigation Trust Assets), (iii) to satisfy other liabilities incurred
 or assumed by the Litigation Trust (or to which the assets are otherwise subject) in
 accordance with the Plan or the Litigation Trust Agreement, and (iv) to fund the
 operations of the Litigation Trust. The Litigation Trustee may withhold from amounts
 distributable to any Person any and all amounts, determined in the Litigation Trustee’s
 reasonable discretion, to be required to be withheld by any law, regulation, rule, ruling,
 directive, or other governmental requirement.

        Section 9.12. Non-transferability of Litigation Trust Interests. Except as
 provided in the Litigation Trust Agreement, the Litigation Trust Interests may not be
 transferred or assigned, except by operation of law or by will or the laws of descent and
 Distribution.

        Section 9.13. Termination. The Litigation Trust shall be dissolved at such time,
 and in accordance with the terms, as set forth in the Litigation Trust Agreement.

        Section 9.14. Net Litigation Trust Recovery. Notwithstanding anything
 contained herein to the contrary, in the event that a defendant in a litigation brought by
 the Litigation Trustee for and on behalf of the Litigation Trust (i) is required by a Final


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 Order to make payment to the Litigation Trust and (ii) is permitted by a Final Order to
 assert a right of setoff under sections 553 of the Bankruptcy Code or applicable non-
 bankruptcy law against the judgment amount, (A) such defendant shall be obligated to
 pay only the excess, if any, of the amount of the judgment amount over the setoff, and
 (B) none of the Litigation Trust or the holders of the Litigation Trust Interests shall be
 entitled to assert a claim against the Estate or the Plan Administrator with respect to the
 setoff.

                                    ARTICLE X.
                               CONDITIONS PRECEDENT

        Section 10.1. Conditions to Confirmation. The following conditions are
 conditions precedent to Confirmation of the Plan unless waived by the Trustee
 pursuant to Section 10.3 of the Plan: (i) the Confirmation Order must be in a form and
 substance reasonably acceptable to the Trustee and HMS, and (ii) the Confirmation
 Order shall:

                (a)    authorize the appointment of all parties appointed under or in
 accordance with the Plan, including, without limitation, the Plan Administrator, the
 Litigation Trustee and the Oversight Committee, and direct such parties to perform
 their obligations under such documents;

               (b)     approve in all respects the transactions, agreements, and
 documents to be effected pursuant to the Plan, including, without limitation, the
 Litigation Trust Agreement, the Sale, the Grant, the HMS Settlement Agreement and the
 Thompson Family Foundation Settlement;

               (c)     authorize the Plan Administrator, the Litigation Trustee and the
 Oversight Committee to assume the rights and responsibilities fixed in the Plan and
 Litigation Trust Agreement;

              (d)     approve the exculpatory provisions, releases and injunctions
 granted and created by the Plan;

               (e)     order, find, and decree that the Plan complies with all applicable
 provisions of the Bankruptcy Code, including that the Plan was proposed in good faith;

               (f)       contain such findings and decrees as required by the terms of,
 and as set forth in the definition of “Confirmation Order” contained in, the Purchase
 Agreement; and

              (g)      except as otherwise specifically provided in the Plan, order that
 nothing herein operates as a discharge, release, exculpation, or waiver of, or establishes
 any defense or limitation of damages to, any Claim or Cause of Action belonging to the
 Estate.

        Section 10.2. Conditions to Effective Date. The Plan shall not become effective
 unless and until the following conditions shall have been satisfied or waived pursuant
 to Section 10.3 of the Plan:



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               (a)     the Confirmation Date shall have occurred and the Confirmation
 Order, in a form consistent with the requirements of Section 10.1 of the Plan, shall have
 become a Final Order;

               (b)     no stay of the Confirmation Order shall then be in effect, unless
 the Plan shall have been substantially consummated before entry of any stay;

               (c)     the Sale Closing Date shall have occurred;

               (d)     the Plan Administrator shall have been appointed;

               (e)     the Litigation Trust Agreement shall have been executed, the
 Litigation Trust Assets shall have been transferred to the Litigation Trust, and the
 Litigation Trustee shall have been appointed;

               (f)     the NYSAG shall have approved the transactions contemplated
 by the Plan including the Sale and the Grant;

               (g)     The Effective Date shall have occurred prior to September 30,
 2018;

               (h)      all actions, documents and agreements necessary to implement
 the provisions of the Plan, and such actions, documents, and agreements shall have
 been effected or executed and delivered; and

               (i)      all other actions required by the Plan to occur on or before the
 Effective Date shall have occurred.

        Section 10.3. Waiver of Conditions. Any of the conditions set forth in this
 Article X may be waived by the Trustee, Plan Administrator, or HMS, as applicable, to
 the extent such waiver does not adversely affect the Distributions hereunder.
 Notwithstanding the foregoing, only the Trustee and the Purchasers (in respect to each
 of their Purchase Agreement and Grant Agreement) together can waive the conditions
 contained in sections 10.1(f) and 10.2(f) above as such conditions are applicable to the
 Sale and Grant.

                             ARTICLE XI.
         MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN

         Section 11.1. Modification of Plan: Generally. The Trustee and/or the Plan
 Administrator, as applicable, may alter, amend or modify the Plan pursuant to section
 1127 of the Bankruptcy Code at any time prior to the Confirmation Date; provided,
 however, any alteration, amendment or modification that affects the Litigation Trust or
 the rights, claims or obligations of HMS shall be reasonably acceptable to HMS. After
 such time and prior to substantial consummation of the Plan, the Trustee may, so long
 as the treatment of holders of Claims under the Plan is not adversely affected, institute
 proceedings in Bankruptcy Court to remedy any defect or omission or to reconcile any
 inconsistencies in the Plan, the Disclosure Statement or the Confirmation Order, and
 any other matters as may be necessary to carry out the purposes and effects of the Plan;



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 provided, however, notice of such proceedings shall be served in accordance with
 Bankruptcy Rule 2002 or as the Bankruptcy Court shall otherwise order.

        Section 11.2. Revocation or Withdrawal of Plan. The Trustee reserves the right
 to revoke or withdraw the Plan at any time prior to the Effective Date. If the Trustee
 revokes or withdraws the Plan prior to the Effective Date, then the Plan shall be deemed
 null and void, and nothing contained in the Plan shall be deemed to constitute a waiver
 or release of any Claims by or against the Estate, or any other Person, or to prejudice in
 any manner the rights of the Trustee or any Person in any further proceedings
 involving the Estate (or the Debtor).

                                    ARTICLE XII.
                             RETENTION OF JURISDICTION

         Section 12.1. Exclusive Jurisdiction of the Bankruptcy Court. Except as
 otherwise provided for in the Plan, following the Effective Date, the Bankruptcy Court
 will retain exclusive jurisdiction of the Chapter 11 Case for the following purposes:

              (a)      to hear and determine any pending applications for the
 assumption or rejection of Executory Contracts, and the resulting allowance of Claims
 against the Debtor;

               (b)     to recover all Assets of the Estate, wherever located;

               (c)      to hear and determine any issues or disputes relating to the Sale,
 the Grant, the HMS Settlement Agreement, and/or any other transactions contemplated
 thereby on or after the Effective Date;

              (d)       to determine any adversary proceedings, applications, contested
 matters and other litigated matters pending on the Effective Date;

               (e)      to hear and determine any actions commenced on or after the
 Effective Date by the Plan Administrator, the Litigation Trustee, or, to the extent
 applicable, the Oversight Committee, including, but not limited to, the Litigation Trust
 Claims;

             (f)     to ensure that Distributions to holders of Allowed Claims are
 accomplished as provided in the Plan;

               (g)     to hear and determine objections to or requests for estimation of
 Claims against the Estate, including any objections to the classification of any Claims,
 and to allow, disallow and/or estimate Claims, in whole or in part;

              (h)     to enter and implement such orders as may be appropriate in the
 event the Confirmation Order is for any reason stayed, revoked, modified or vacated;

               (i)     to issue any appropriate orders in aid of execution of the Plan or
 to enforce the Confirmation Order;




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                (j)    to hear and determine any applications to modify the Plan, to
 cure any defect or omission or to reconcile any inconsistency in the Plan or in any order
 of the Court, including, without limitation, the Confirmation Order;

            (k)      to hear and determine all applications for compensation and
 reimbursement of expenses of Professional Persons;

               (l)     to hear and determine disputes arising in connection with the
 interpretation, implementation or enforcement of the Plan;

               (m)      to hear and determine other issues presented or arising under the
 Plan;

               (n)     to hear and determine other issues related to the Plan to the
 extent not inconsistent with the Bankruptcy Code; and

               (o)      to enter a final decree closing the Case.

         Section 12.2. Failure of the Bankruptcy Court to Exercise Jurisdiction. If the
 Bankruptcy Court abstains from exercising or declines to exercise jurisdiction over any
 matter arising under, arising in or related to the Chapter 11 Case, including with respect
 to the matters set forth above in this Article XIII, shall not prohibit or limit the exercise
 of jurisdiction by any other court having competent jurisdiction with respect to such
 subject matter.

                             ARTICLE XIII.
     DISCHARGE; INJUNCTIVE PROVISIONS; EXCULPATION AND RELEASES

        Section 13.1. Term of Bankruptcy Injunction or Stays. Subject to the rights of the
 holders of Allowed Secured Claims under Section 4.1 of the Plan, unless otherwise
 provided in the Confirmation Order, any injunctions or stays provided for in the
 Chapter 11 Case under sections 105 or 362 of the Bankruptcy Code, or otherwise, and in
 existence on the Confirmation Date, shall remain in full force and effect until this Plan
 has been fully performed.

        Section 13.2. Discharge. As the Debtor will not engage in business after the
 Effective Date except as otherwise provided for in the Plan, the Debtor will not obtain a
 discharge pursuant to section 1141(d) of the Bankruptcy Code.

         Section 13.3. Injunctions

                (a)     Injunctions Against Interference with Consummation or
 Implementation of Plan. Except as provided herein, upon the Effective Date all
 Persons shall be enjoined from commencing or continuing any judicial or
 administrative proceeding, employing any process, or taking any action whatsoever
 against the Debtor, the Estate, the Trustee, the Plan Administrator, the Litigation
 Trust, the Litigation Trustee, or the Oversight Committee that interferes with the
 consummation and implementation of (i) this Plan, (ii) the Sale, (iii) the Grant
 (iv) the Litigation Trust, the Litigation Trust Agreement or the Litigation Trust
 Assets, (v) the HMS Settlement Agreement, or (vi) the transfers, payments and


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 Distributions to be made in accordance with the Plan and the Litigation Trust
 Agreement.

               (b)     Cause of Action Injunction. On and after the Effective Date, all
 Persons (other than the Litigation Trustee or Plan Administrator, as applicable) shall
 be permanently enjoined from commencing or continuing in any manner any action
 or proceeding (whether directly, indirectly, derivatively or otherwise) on account of,
 or respecting any, Claim, debt, right or Cause of Action that the Plan Administrator,
 or the Litigation Trust and the Litigation Trustee retains authority to pursue in
 accordance with the Plan and the Litigation Trust Agreement.


              (c)      Injunction Against Prosecution. Except as otherwise specifically
 provided for by this Plan, as of the Effective Date, all holders of Claims shall be
 enjoined from taking any of the following actions in respect to any such Claims:

                      (i)    the commencement or continuation of any action or
 proceedings against the Debtor, the Estate, the Trustee, the Plan Administrator, the
 Litigation Trust, the Litigation Trustee, or the Oversight Committee or their
 respective property;
                      (ii)   the enforcement, attachment, collection or recovery by any
 manner or means of any judgment, award, decree, or order against the Debtor, the
 Estate, the Trustee, the Plan Administrator, the Litigation Trust, the Litigation
 Trustee, or the Oversight Committee or their respective property;
                      (iii) the creation, perfection or enforcement of any
 encumbrance of any kind against the Debtor, the Estate, the Trustee, the Plan
 Administrator, the Litigation Trust, the Litigation Trustee, or the Oversight
 Committee; and/or
                      (iv) the assertion of any right of setoff, subrogation or
 recoupment of any kind against any obligation due from any such entity to the
 Debtor, the Estate, the Trustee, the Plan Administrator, the Litigation Trust, the
 Litigation Trustee, or the Oversight Committee.

         Section 13.4. Exculpation. To the extent consistent with section 1125(e) of the
 Bankruptcy Code, except as otherwise specifically provided in this Plan including
 Section 13.7, no Exculpated Party shall have or incur, and each Exculpated Party is
 hereby released and exculpated from, any Exculpated Claim, or obligation, cause of
 action or liability for any Exculpated Claim, and shall be entitled to rely reasonably
 on the advice of counsel with respect to their duties and responsibilities pursuant to
 this Plan. Each Exculpated Party and their respective affiliates, agents, directors,
 members, managers, officers, officials, employees, advisors and attorneys have, and
 upon the Effective Date shall be deemed to have, participated in the promulgation of
 this Plan and in good faith and in compliance with the applicable provisions of the
 Bankruptcy Code and applicable non-bankruptcy law and shall not be liable at any
 time for the violation of any applicable law, rule or regulation governing the
 solicitation of acceptances or rejections of this Plan or Distributions made pursuant
 to this Plan. From and after the Effective Date, a copy of the Confirmation Order and
 the Plan shall constitute, and may be submitted as, a complete defense to any claim
 or liability satisfied, enjoined or subject to exculpation pursuant to this Article XIV;


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   provided, however, that nothing in the Plan or the Confirmation Order shall, or shall
   be deemed to, release or exculpate the Trustee or his retained Professional Persons
   and representatives with respect to, their obligations or covenants arising from bad
   faith, willful misconduct, gross negligence, breach of fiduciary duty, malpractice,
   fraud, criminal conduct, unauthorized use of confidential information that causes
   damages, and/or ultra vires acts. Upon the Confirmation Date, creditors will be
   unable to pursue any Claims that are satisfied, enjoined or subject to exculpation
   under the Plan, but creditors may pursue Claims or claims that may arise in the
   future, or pursuant to the Plan or Confirmation Order.

          Section 13.5. Releases.

a) Releases by the Debtor and its Estate. Except as otherwise specifically provided in
   this Plan including Section 13.7, as of the Effective Date, the Trustee, on behalf of the
   Debtor and its Estate, and any Person or Entity seeking to exercise the rights of the
   Debtor’s Estate, including, without limitation, the Plan Administrator, the Litigation
   Trust and the Litigation Trustee and any successor to the Debtor or any estate
   representative appointed or selected pursuant to section 1123(b)(3) of the Bankruptcy
   Code, shall be deemed to forever release, waive and discharge the Released Parties
   and any of the Released Parties’ predecessors, successors and assigns, subsidiaries,
   affiliates, current and former officers, directors, principals, employees, agents,
   advisory board members, consultants, representatives, attorneys, and financial
   advisors from from any and all Claims, demands, Causes of Action and the like,
   arising from or related to this Chapter 11 Case or the Debtor and existing as of the
   Effective Date or thereafter arising from any act, omission, event, or other occurrence
   that occurred on or prior to the Effective Date, whether direct or derivative,
   liquidated or unliquidated, fixed or contingent, matured or unmatured, disputed or
   undisputed, known or unknown, foreseen or unforeseen, at law, in equity or
   otherwise; provided, however, such release, waiver and discharge shall not operate
   as a release, waiver or discharge of any Released Parties in respect of any express
   contractual obligation of any such party effective from and after the Effective Date;
   provided, further, that notwithstanding the foregoing or any other provision of the
   Plan, nothing in the Plan, any Plan Supplement, or any order confirming the Plan
   shall affect any Causes of Action, Claims, or counter-Claims that may be asserted by
   the Plan Administrator in connection with an objection to a Claim that has not been
   Allowed, in each case as determined by the Bankruptcy Court; provided, further,
   such release, waiver and discharge shall not in any way limit the rights of the holders
   of Claims under the terms of the Plan; provided, further, such release, waiver and
   discharge shall not extend to the Debtor’s current and former officers, directors,
   principals, employees, agents, advisory board members, consultants, representatives,
   attorneys, and financial advisors.

b) Releases by Holders of Claims Except as otherwise specifically provided in this Plan
   including Section 13.7, as of the Effective Date, each holder of a Claim against the
   Debtor, including, but not limited to HMS, shall be deemed to forever release, waive
   and discharge the Released Parties and any of the Released Parties’ predecessors,
   successors and assigns, subsidiaries, affiliates, current and former officers, directors,
   principals, employees, agents, advisory board members, consultants, representatives,
   attorneys, and financial advisors from from any and all Claims, demands, Causes of


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 Action and the like, arising from or related to this Chapter 11 Case or the Debtor and
 existing as of the Effective Date or thereafter arising from any act, omission, event, or
 other occurrence that occurred on or prior to the Effective Date, whether liquidated or
 unliquidated, fixed or contingent, matured or unmatured, disputed or undisputed,
 known or unknown, foreseen or unforeseen, at law, in equity or otherwise;
 provided, however, such release, waiver and discharge shall not operate as a release,
 waiver or discharge of any Released Parties in respect of any express contractual
 obligation of any such party effective from and after the Effective Date; provided,
 further, that notwithstanding the foregoing or any other provision of the Plan,
 nothing in the Plan, any Plan Supplement, or any order confirming the Plan shall
 affect any Causes of Action, Claims, or counter-Claims that may be asserted by the
 Plan Administrator in connection with an objection to a Claim that has not been
 Allowed, in each case as determined by the Bankruptcy Court; provided, further,
 such release, waiver and discharge shall not in any way limit the rights of the holders
 of Claims under the terms of the Plan; provided, further, such release, waiver and
 discharge shall not extend to the Debtor’s current and former officers, directors,
 principals, employees, agents, advisory board members, consultants, representatives,
 attorneys, and financial advisors.

        Section 13.6. Indemnification. The Plan Administrator shall be indemnified
 and receive reimbursement against and from all loss, liability, expense (including
 counsel fees) or damage which the Plan Administrator may incur or sustain in the
 exercise and performance of any of their respective powers and duties under the
 Plan, to the full extent permitted by law, except if such loss, liability, expense or
 damage is finally determined by a court of competent jurisdiction to result solely
 from the Plan Administrator’s member’s fraud, willful misconduct, or gross
 negligence. The amounts necessary for such indemnification and reimbursement
 shall be paid by the Plan Administrator out of Cash held by the Plan Administrator
 in the Plan Distribution Fund. The Plan Administrator shall not be personally liable
 for this indemnification obligation or the payment of any expense of administering
 the Plan or any other liability incurred in connection with the Plan, and no Person
 shall look to the Plan Administrator personally for the payment of any such expense
 or liability. This indemnification shall survive the death, resignation or removal, as
 may be applicable, of the Plan Administrator and shall inure to the benefit of the
 Plan Administrator’s and their respective successors, heirs and assigns, as applicable.

        Section 13.7. Limitation on Exculpations, Injunctions and Release.
 Notwithstanding anything to the contrary contained herein, this Plan shall not
 exculpate or release, or provide injunctive protection to, any Person or Entity
 identified in the Plan Supplement as a potential defendant to a Cause of Action
 which shall include, without limitation, all of the Debtor’s current and former
 directors, officers, principals, employees, agents, advisory board members,
 consultants, representatives, attorneys, financial advisors and insurers.

         Section 13.8. Preservation and Application of Insurance. The provisions of the
 Plan, including, without limitation, the injunctive provisions contained in this Article
 XIII, shall not diminish or impair in any manner the enforceability and/or coverage of
 any insurance policies (and any agreements, documents, or instruments relating



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 thereto) that may cover Claims including D&O Claims, any directors, trustees or
 officers of the Debtor, or any other Person, other than as expressly set forth herein.

                                    ARTICLE XIV.
                             MISCELLANEOUS PROVISIONS

         Section 14.1. Payment of Statutory Fees. All outstanding fees payable pursuant
 to section 1930 of Title 28 of the United States Code shall be paid on or before the
 Effective Date; provided, however, the Plan Administrator shall be responsible for the
 satisfaction of United States Trustee Fees arising under 28 U.S.C. § 1930 and 31 U.S.C.
 §3717 from the Effective Date through the entry of a final decree closing, dismissal of, or
 conversion of the Chapter 11 Case.

        Section 14.2. Reports. Until a final decree closing the Chapter 11 Case is entered,
 the Plan Administrator shall comply with any requisite reporting requirements
 established pursuant to the guidelines of the U.S. Trustee.

        Section 14.3. Governing Law. Except to the extent the Bankruptcy Code, the
 Bankruptcy Rules, or other federal laws are applicable, the laws of the State of New
 York shall govern the construction and implementation of the Plan and all rights and
 obligations arising under the Plan.

         Section 14.4. Withholding and Reporting Requirements. In connection with the
 Plan and all instruments issued in connection therewith and Distributions made
 therefrom, the Plan Administrator shall comply with all withholding, reporting,
 certification and information requirements imposed by any federal, state, local or
 foreign taxing authority and all Distributions hereunder shall, to the extent applicable,
 be subject to any such withholding, reporting, certification and information
 requirements. Persons entitled to receive Distributions hereunder shall, as a condition
 to receiving such Distributions, provide such information and take such steps as the
 Plan Administrator may reasonably require to ensure compliance with such
 withholding and reporting requirements, and to enable the Plan Administrator to
 obtain the certifications and information as may be necessary or appropriate to satisfy
 the provisions of any tax law. Any Person that fails to comply with any such request of
 the Plan Administrator within ninety (90) days of any such request, shall not be entitled
 to participate in any Distribution under the Plan and no such Distribution shall be made
 on account of any such persons Allowed Claim, and the Plan Administrator shall
 reallocate such Distribution for the benefit of all other holders of Allowed Claims in
 accordance with the Plan.

         Section 14.5. Section 1146 Exemption. Pursuant to section 1146(a) of the
 Bankruptcy Code, the issuance, transfer, or exchange of any security under the Plan, the
 execution, delivery, or recording of an instrument of transfer pursuant to, in
 implementation of or as contemplated by the Plan, or the vesting, transfer, or sale of
 any real property of the Estate pursuant to, in implementation of or as contemplated by
 the Plan shall not be taxed under any state or local law imposing a stamp tax, transfer
 tax, or similar tax or fee. Consistent with the foregoing, each recorder of deeds or
 similar official for any county, city or governmental unit in which any instrument
 hereunder is to be recorded shall, pursuant to the Confirmation Order, be ordered and


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 directed to accept such instrument, without requiring the payment of any documentary
 stamp tax, deed stamps, stamp tax, transfer tax, intangible tax, or similar tax.

         Section 14.6. Severability. In the event that the Bankruptcy Court determines,
 prior to the Confirmation Date, that any provision in the Plan is invalid, void or
 unenforceable, such provision shall be invalid, void or unenforceable with respect to the
 holder or holders of such Claims as to which the provision is determined to be invalid,
 void or unenforceable. The invalidity, voidness or unenforceability of any such
 provision shall in no way limit or affect the enforceability and operative effect of any
 other provision of the Plan and shall not require the resolicitation of any acceptance or
 rejection of the Plan unless otherwise ordered by the Bankruptcy Court.

        Section 14.7. Reservation of Rights. If the Plan is not confirmed for any reason,
 the rights of all parties in interest in the Chapter 11 Case are and shall be reserved in
 full. Any concession reflected or provision contained herein, if any, is made for
 purposes of the Plan only, and if the Plan does not become effective, no party in interest
 in the Chapter 11 Case shall be bound or deemed prejudiced by such concession.

        Section 14.8. Binding Effect; Counterparts. The provisions of the Plan shall bind
 all holders of Claims against the Estate, whether or not they have accepted the Plan.
 The Plan may be executed in any number of counterparts and by different parties
 hereto on separate counterparts, each of which counterparts, when so executed and
 delivered, shall be deemed to be an original and all of which counterparts, taken
 together, shall constitute but one and the same Plan.

        Section 14.9. Notices. All notices, requests, and demands to or upon the Trustee,
 the Plan Administrator, Litigation Trust/Trustee or the Oversight Committee must be
 in writing and, unless otherwise expressly provided herein, shall be deemed to have
 been duly given or made when actually delivered or, in the case of notice by facsimile
 transmission or by electronic mail, when received and telephonically confirmed,
 addressed as follows:

       If to the Trustee, to:
       Stephen S. Gray, as Chapter 11 Trustee
       c/o Togut, Segal & Segal LLP
       Scott Ratner
       One Pennsylvania Plaza, Suite 3335
       New York, New York 10119
       Tel: (212) 594 - 5000
       Fax: (212) 967 - 4258
       Email: SERatner@TeamTogut.com

       If to the Plan Administrator, to:
       Stephen S. Gray, as Plan Administrator
       c/o Togut, Segal & Segal LLP
       Scott Ratner
       One Pennsylvania Plaza, Suite 3335
       New York, New York 10119
       Tel: (212) 594 - 5000


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        Fax: (212) 967 - 4258
        Email: SERatner@TeamTogut.com

 If to the Oversight Committee, to:
 As provided in the Litigation Trust Agreement

 If to the Litigation Trust and/or the Litigation Trustee, to:
 As provided in the Litigation Trust Agreement

        Section 14.10. Computation of Time. In computing any period of time prescribed
 or allowed by the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply.

        Section 14.11. Plan Controls. In the event and to the extent that any provision of
 the Plan is inconsistent with the provisions of the Disclosure Statement, the provisions
 of the Plan shall control and take precedence.

 Date: August 8, 2018
       New York, New York

 By: /s/Stephen S. Gray
 Stephen S. Gray,
  Not individually but solely in
  His capacity as Chapter 11 Trustee

 TOGUT, SEGAL & SEGAL LLP
 Counsel for the Chapter 11 Trustee


 By: /s/Scott E. Ratner
 Albert Togut
 Scott E. Ratner
 Members of the Firm
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